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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
               v.                                 )
                                                  )
MARIIA BUTINA, a/k/a,                             )       Criminal Action No. 18-cr-218 (TSC)
MARIA BUTINA                                      )
                                                  )
Defendant.                                        )
                                                  )

                                               ORDER
        Upon consideration of the parties’ submissions in response to the court’s minute order of

August 24, 2018, and for the reasons explained at the September 10, 2018 status conference, the

court hereby issues this special order under Local Criminal Rule 57.7(c), restricting the ability of

the parties to release information or make statements regarding the merits or evidence at issue in

this case, as more specifically described in LCrR 57.7(b)(3).

The Rules of this court clarify that:

        [i]t is the duty of the lawyer or law firm not to release or authorize the release of
        information or opinion which a reasonable person would expect to be disseminated
        by means of public communication, in connection with pending or imminent
        criminal litigation with which the lawyer or the law firm is associated, if there is a
        reasonable likelihood that such dissemination will interfere with a fair trial or
        otherwise prejudice the due administration of justice.

LCrR 57.7(b)(1). Further, Rule 57.7(c) contains specific guidance for widely publicized cases,

and it gives the court authority “[i]n a widely publicized or sensational criminal case, . . . [to] issue

a special order governing such matters as extrajudicial statements by parties, witnesses and

attorneys likely to interfere with the rights of the accused to a fair trial by an impartial jury. LCrR

57.7(c).



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        The limitations are aimed at two principal evils: (1) comments that are likely to
        influence the actual outcome of the trial, and (2) comments that are likely to
        prejudice the jury venire, even if an untainted panel can ultimately be found. Few,
        if any, interests under the Constitution are more fundamental than the right to a fair
        trial by “impartial” jurors, and an outcome affected by extrajudicial statements
        would violate that fundamental right.

Gentile, 501 U.S. at 1075.

        Therefore, to safeguard the defendant’s right to a fair trial, and to ensure that the

court can seat a jury that has not been tainted by pretrial publicity, all interested participants

in the matter, including the parties, any potential witnesses, and counsel for the parties and

the witnesses, are hereby

        ORDERED to refrain from making statements to the media or in public settings

that pose a substantial likelihood of material prejudice to this case.

Date: September 12, 2018


                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge




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